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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

LISA LAROCCA                                 §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §    C.A. NO.: 3:20-cv-00134
                                             §
ALVIN INDEPENDENT                            §
SCHOOL DISTRICT,                             §
                                             §
       Defendant.                            §

             ALVIN INDEPENDENT SCHOOL DISTRICT’S
     MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                  PURSUANT TO RULE 12(b)(1) & (6)

                     NATURE AND STAGE OF PROCEEDINGS

       Lisa LaRocca filed suit against Alvin Independent School District (AISD or the

District), claiming that the District violated her rights under Title VII of the Civil Rights

Act of 1964 by discriminating against her based on her national origin. See Dkt. No. 10 at

¶¶ 62-72. LaRocca further claims the District violated her rights under Title VII by

retaliating against her for complaining about (1) the alleged discrimination, (2) the

District’s non-compliance with special education laws, and (3) the level of training she

received as a special education case manager. See id. at ¶¶ 73-79. AISD now moves to

dismiss all of LaRocca’s claims.

         STATEMENT OF RELEVANT FACTS AS PLED BY PLAINTIFF

•      LaRocca is from Brooklyn, New York and is of Italian descent. Id. at ¶¶ 37, 48, 50.

•      LaRocca was employed by the District as a teacher from 2015 until 2019. Id. ¶¶ 8-
       9, 37.
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•      From October 9th through 17th, of 2018, LaRocca was placed on administrative
       leave for an alleged inappropriate physical interaction with a male student, as well
       as for verbally threatening the secretary for the special education department. Id. at
       ¶¶ 19-20.

•      On October 18, 2018, upon her return to work, LaRocca was given the directive to
       not enter the special education office or classrooms. Id. at ¶ 24.

•      At the staff Christmas luncheon, on December 19, 2018, LaRocca made another
       special education department employee uncomfortable by cursing at her. Id. at ¶¶
       34-35.

•      As a result of the pattern of complaints against LaRocca, a representative from the
       District’s Human Resources Department met with LaRocca, on January 8, 2019,
       and explained LaRocca’s options – she could resign, finish the school year, and
       receive a letter of recommendation, or her contract could be recommended for
       termination at the end of the year. Id. at ¶¶ 34-36.

•      LaRocca submitted her letter of resignation on January 10, 2019. Id. at ¶ 37.

•      On February 28, 2019, LaRocca was placed on administrative leave, again, for
       disrupting the educational process by discussing her employment status with
       students. Id. at ¶¶ 46-47.

•      During the 2017-2018 and 2018-2019 school years, LaRocca heard from students,
       or otherwise heard herself, that various teachers would remark that LaRocca is
       “different,” “doesn’t fit in,” was Italian, and would comment on her New York
       accent. Id. at ¶¶ 10, 48-49, 51-52.

•      LaRocca filed a report with the Equal Employment Opportunity Commission
       (EEOC) in September of 2019. Id. at ¶ 57. A right to sue letter was issued January
       29, 2020. Id.at ¶ 59.

                            STATEMENT OF THE ISSUES

    1. LaRocca’s discrimination claim based on her national origin should be dismissed
       because she has failed to exhaust her administrative remedies.

    2. LaRocca’s retaliation claim grounded in her complaining of the discrimination
       based on her national origin should be dismissed because she has failed to exhaust
       her administrative remedies.

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     3. LaRocca’s retaliation claim based on her complaining of non-compliance with
        special education laws should be dismissed because she has failed to exhaust her
        administrative remedies.

     4. LaRocca’s retaliation claim based on her complaining about the lack of training she
        received as a special education case manager should be dismissed because she has
        failed to exhaust her administrative remedies.

     5. LaRocca’s discrimination claim based on her national origin should be dismissed
        because the alleged harassment is not sufficiently severe or pervasive.

     6. LaRocca’s discrimination claim based on her national origin should be dismissed
        because she does not plead she suffered an adverse employment action.

     7. LaRocca’s retaliation claims based on her complaining about the District’s non-
        compliance with special education laws and the lack of training she received should
        be dismissed because she does not plead that she engaged in a protected activity.

     8. LaRocca’s retaliation claims should be dismissed because she does not plead a
        causal link between her alleged protected activities and the alleged adverse
        employment actions.

     9. LaRocca lacks standing to assert a claim for injunctive relief against the District.

                           ARGUMENT AND AUTHORITIES

A.      Standard of Review.

            1. Rule 12(b)(1).

        Federal Rule of Civil Procedure 12(b)(1) allows a party to challenge the Court’s

exercise of subject matter jurisdiction over a case. See Den Norske Stats Oljeselskap As v.

Heeremac VOF, 241 F.3d 420, 424 (5th Cir. 2001). “In ruling on a motion to dismiss for

lack of subject matter jurisdiction, a court may evaluate (1) the complaint alone, (2) the

complaint supplemented by undisputed facts evidenced in the record, or (3) the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts.” Id. A court


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must accept all factual allegations in the plaintiff’s complaint as true, and the burden of

establishing a federal court’s subject matter jurisdiction rests with “the party seeking to

invoke it.” See Pedrozo v. Clinton, 610 F. Supp. 2d 730, 733 (S.D. Tex. 2009) (citing

to Hartford Ins. Group v. Lou-Con, Inc., 293 F.3d 908, 910 (5th Cir. 2002)).

          2. Rule 12(b)(6).

       When reviewing a motion to dismiss pursuant to Rule 12(b)(6), a court must accept

all well-pleaded facts as true and view them in the light most favorable to the non-moving

party. See Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996). However, “[f]actual

allegations must be enough to raise a right to relief above the speculative level…” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). “[T]o survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief

that is plausible on its face.’” Gonzalez v. Kay, 577 F.3d 600, 603 (5th Cir. 2009) (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)) (internal quotations omitted).

       The Supreme Court in Iqbal explained that Twombly illustrates the applicable “two-

pronged approach” for determining whether a complaint states a plausible claim for relief.

Iqbal, 556 U.S. at 679. A court must identify those pleadings that, “because they are no

more than conclusions, are not entitled to the assumption of truth.” Id. Legal conclusions

“must be supported by factual allegations.” Id. Upon identifying the well-pleaded factual

allegations, the court “should assume their veracity and then determine whether they

plausibly give rise to an entitlement to relief.” Id. “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.” Id. at 678.

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B.       As the EEOC’s right to sue letter is not based on the claims LaRocca now asserts
         in this suit, LaRocca has failed to exhaust her administrative remedies.

         As a precondition to seek judicial relief in federal court, LaRocca was required to

exhaust her administrative remedies by filing an administrative charge with the EEOC. See

42 U.S.C. § 2000e-5(b); see also Pacheco v. Mineta, 448 F.3d 783, 788 n.6 (5th Cir. 2006),

cert. denied, 549 U.S. 888 (2006). Although LaRocca asserts that she met all conditions

prior to filing this lawsuit, the claims asserted in her EEOC charge were discrimination

based on race, sex, and age, as well as retaliation – not discrimination and (by extension)

retaliation based on her national origin. Compare Charge of Discrimination, attached as

Exhibit A, with Dkt. No. 10 at ¶¶ 5-6, 54-57.1 Further, LaRocca’s EEOC charge did not

assert a claim of retaliation based on reporting the District’s alleged non-compliance with

special education laws and her lack of training as the special education manager. Compare

Exhibit A with Dkt. No. 10.

         Although LaRocca alleges that she filed a grievance with the District that mentioned

negative comments about her national origin, this is not equivalent to filing a charge with

the EEOC. Dkt. No. 10 at ¶ 54; see Pacheco, 448 F.3d at 788. Further, LaRocca asserts

that she filed a report with the EEOC on March 6, 2019, in which she alleged she was

“blacklisted” for reporting the school’s non-compliance with special education rules;

however, the right to sue letter she received was only based on the charge filed with the


1
  In a Rule 12(b)(6) motion to dismiss, attached documents are considered part of the pleadings, “if they are referred
to in the plaintiff’s complaint and are central to her claim.” Collins v. Morgan Stanley Dean Witter, 224 F.3d 496,
498-99 (5th Cir. 2000); see also Dkt. No. 10 at ¶¶ 5-6, 55-59. Further, “it is clearly proper in deciding a 12(b)(6)
motion to take judicial notice of matters of public record,” such as a plaintiff’s underlying charge of discrimination in
a Title VII lawsuit. See Norris v. Hearst Trust, 500 F.3d 454, 461 n.9 (5th Cir. 2007); Cinel v. Connick, 15 F.3d 1338,
1343 n.6 (5th Cir. 1994).

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EEOC in September of 2019. See Exhibit A. And, as stated above, this charge does not

allege discrimination or retaliation based on national origin, retaliation based on reporting

non-compliance issues with special education laws, or retaliation based on complaining of

a lack of training. Id.

       As such, LaRocca has failed to exhaust her administrative remedies as to all of her

claims that she seeks judicial relief from this Court for. See Pacheco, 448 F.3d at 788; Fine

v. GAF Chem. Corp., 995 F.2d 576, 577-78 (5th Cir. 1993) (finding plaintiff did not

exhaust her administrative remedies with respect to an incident of sexual discrimination

because the incident sued upon was separate from the one raised in her administrative

charge); Young v. City of Houston, 906 F.2d 177, 179-80 (5th Cir. 1990) (finding

administrative remedies were not exhausted for a sex discrimination claim because plaintiff

had alleged a race and age discrimination in his charge). This failure is fatal to all of

LaRocca’s claims. See 42 U.S.C. § 2000e-5(b); Pacheco, 448 F.3d at 788 n.6

C.     Even if she had properly exhausted her administrative remedies, LaRocca still
       fails to state a claim for discrimination and retaliation.

           1. LaRocca fails to state a claim for a hostile work environment based on her
              national origin.

       LaRocca alleges that she was discriminated and harassed by supervisors and co-

workers based on her national origin. See Dkt. No. 10 at ¶¶ 62-69. To state a hostile work

environment claim under Title VII, LaRocca must plead facts that show (1) she belongs to

a protected group; (2) she was subjected to unwelcome harassment; (3) the harassment was

based on her protected characteristic; (4) the harassment affected a term, condition, or

privilege of employment; and (5) the District knew or should have known of the harassment

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but failed to take prompt remedial action. See E.E.O.C. v. WC&M, Inc., 496 F.3d 393, 399

(5th Cir. 2007). Even assuming LaRocca pled sufficient facts to meet the first, second, and

fifth elements, she fails to plead facts that show the harassment (that was based on her

national origin) affected a term, condition, or privilege of employment. See generally, Dkt.

No. 10.

       The Supreme Court has held that the workplace “discriminatory intimidation,

ridicule, and insult” must be “sufficiently severe or pervasive to alter the conditions” of

employment to violate Title VII. Harris v. Forklift Sys., 510 U.S. 17, 21 (1993) (quoting

Meritor Savings Bank FSB v. Vinson, 477 U.S. 57, 65, 67 (1986)). For harassment to be so

severe or pervasive, the conduct complained of must be both subjectively and objectively

offensive. See WC&M, 496 F.3d at 399 (citing to Harris, 510 U.S. at 21-22). To determine

if the workplace was objectively offensive, courts consider the totality of the

circumstances, including: (1) the frequency of the discriminatory conduct; (2) the severity

of the conduct; (3) whether the conduct was physically threatening or humiliating, or

merely an offensive utterance; and (4) whether it interferes with an employee’s work

performance. Id. at 399 (citing to Harris, 510 U.S. at 23). LaRocca’s pleadings fall far

short of being objectively offensive.

       Applying Twombly, the Court must first identify the pleadings that amount to

nothing more than legal conclusions unsupported by factual allegations. Twombly, 550

U.S. at 555. Such “unadorned, the-defendant-unlawfully-harmed-me accusation[s]” are

insufficient to sustain a plaintiff’s claim. Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S.

at 555). The Supreme Court made clear that a plaintiff must plead factual allegations that

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support the essential elements of her case in order to meet her pleading burden under

Federal Rule of Civil Procedure 8(a)(2), and “a formulaic recitation of the elements of a

cause of action will not do.” Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678. Further,

“[f]actual allegations must be enough to raise a right to relief above the speculative level.”

Id. Therefore, the Court must assume the veracity of LaRocca’s pleadings “and then

determine whether they plausibly give rise to an entitlement to relief.” Iqbal, 556 U.S. at

679.

        All of LaRocca’s allegations of harassment based on her Italian heritage center

around other teachers gossiping about her and only amount to “the-defendant-unlawfully-

harmed-me” accusations. See Dkt. No. 10 at ¶¶ 10, 37, 48-52; see also WC&M, 496 F.3d

at 399-400; Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678. At best, LaRocca alleges

that on four occasions, spanning over two school years, teachers would mock her accent

(which is not an Italian accent, but rather a Brooklyn accent) and would state she is Italian.

See Dkt. No. 10 at ¶¶ 10, 48, 51-52. Although LaRocca pleads, in a conclusive manner,

that the mocking would occur “regularly,” this allegation is entirely devoid of any

specificity that would allow the Court to draw the inference that actionable harassment

occurred at all, much less on a regular basis. See id. at ¶¶ 49-50. Therefore, LaRocca’s

allegations amount to infrequent, mere offensive utterances that are insufficient to establish

objectively offensive harassment necessary to state a violation of Title VII for a hostile

work environment. See WC&M, 496 F.3d at 399; see Pickens v. Shell Technology Ventures,

Inc., 118 F. App’x 842, 850 (5th Cir. 2004) (citing to Indest v. Freeman Decorating, Inc.,

164 F.3d 258, 264 (5th Cir. 1999)) (“discourtesy, rudeness, offhand comments, and isolated

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incidents that are not extremely serious will not amount to discriminatory changes in the

terms and conditions of employment”). Additionally, LaRocca does not allege that,

because of a few teachers mocking her accent, she was unable to perform her work duties.

See generally, Dkt. No. 10.

       Further, although LaRocca spends numerous pages detailing examples of perceived

mistreatment (including finding her name plate on the ground, being excluded from

meetings and trainings, and being stared at by another teacher at a football game), nowhere

in her complaint does she allege facts that would allow this Court to draw the parallel

between the mistreatment and LaRocca’s national origin. See generally, Dkt. No. 10.

Without pleading the necessary factual substance, the Court cannot infer that any perceived

mistreatment was, or was not, based on LaRocca’s national origin. Because LaRocca’s

allegations allow the Court to draw either inference, if the Court were to accept LaRocca’s

proffered inference, the Court would impermissibly allow this case to proceed on the basis

of a guess. Twombly, 550 U.S. at 555-59 (cautioning against the drawing of false inference

when the facts alleged would permit the drawing of two competing opposed conclusions);

see also Chhim v. Aldine Indep. Sch. Dist., 583 F. App’x 303, 304 (5th Cir. 2014), cert.

denied, 135 S. Ct. 1425 (2015) (finding plaintiff failed to state a claim for discrimination

based on a hostile work environment as he did not allege facts linking the alleged

harassment with his race or national origin) (citing to Ramsey v. Henderson, 286 F.3d 264,

268 (5th Cir. 2002)).




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       As such, LaRocca fails to plead factual allegations that would support her claim that

she was subjected to a hostile work environment based on her national origin, and her claim

should be dismissed.

          2. LaRocca fails to state a claim for straight discrimination based on her
             national origin.

       Insofar as LaRocca also alleges a straight discrimination claim for disparate

treatment based on her national origin, her pleadings fail to establish this claim as well. See

Dkt. No. 10 at ¶¶ 62-72. Although LaRocca is not required to plead sufficient facts that

establish each prong of the prima facie test, she is required to “plead sufficient facts on all

of the ultimate elements of a disparate treatment claim to make [her] case plausible.” See

Cicalese v. Univ. of Tex. Med. Branch, 924 F.3d 762, 766 (5th Cir. 2019) (quoting Chhim

v. Univ. of Tex. at Austin, 836 F.3d 467, 470 (5th Cir. 2016)) (emphasis in original)

(additions added). The Fifth Circuit has found that “there are two ultimate elements a

plaintiff must plead to support a disparate treatment claim under Title VII: (a) an ‘adverse

employment action,’ (2) taken against a plaintiff ‘because of her protected status.’” Id. at

767 (citing Raj v. La. State Univ., 714 F.3d 322, 331 (5th Cir. 2013)). LaRocca fails to

plead sufficient facts that support she suffered an adverse employment action taken against

her because of her Italian descent. See generally, Dkt. No. 10.

       Under well-settled jurisprudence, a discrimination plaintiff must identify an

ultimate employment action, which includes hiring, granting unpaid leave, discharging,

promoting, or compensating. McCoy v. City of Shreveport, 492 F.3d 551, 559 (5th Cir.

2007); Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53, 62 (2006). At


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best, the adverse actions LaRocca identifies in her pleadings are: (1) being directed to not

enter the special education office or any behavior classrooms, which, consequently,

prevented her from using the restroom found within the special education offices and

excluded her from department meetings; and (2) being placed on paid administrative leave

twice, following reports of inappropriate behavior. See Dkt. No. 10 at ¶¶ 20, 24, 26, 30, 32,

35-36, 44-47, 71. Neither of these amount to an ultimate employment action and, therefore,

cannot support LaRocca’s claim of discrimination. See McCoy, 492 F.3d at 559.

       Further, LaRocca does not plead facts that would allow this Court to infer that these

actions were taken because of her Italian heritage. See generally, Dkt. No. 10. In fact,

LaRocca affirmatively pleads that she was initially banned from entering the special

education offices, where one of the school’s restrooms was located, because other

employees who worked in that area were physically intimidated by her. See Dkt. No. 10 at

¶¶ 19-20, 24-26. However, LaRocca was not deprived of a restroom. Rather, she

affirmatively pleads that, after she reported her restroom issue to Principal Briseno, she

was given her own set of keys to use the staff only restroom. Id. at ¶ 30. Further, LaRocca

affirmatively pleads that her exclusion from special education departmental meetings and

trainings was due to her continued intimidation of other employees in that department. Id.

at ¶¶ 34-35, 44-45. And any impediment this caused LaRocca in performing her job duties,

is not pled. See generally, id. Rather, LaRocca, in a cursory manner, claims exclusion from

departmental meetings and access to the special education offices “impeded her ability to

do her work.” See id. at ¶¶ 32, 45. This amounts to a bare accusation that is insufficient to

state a plausible claim for relief. Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678.

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       As such, LaRocca fails to plead factual allegations that would support her claim that

she was discriminated based on her national origin, and her claim should be dismissed. See

Cicalese, 924 F.3d at 766.

           3. LaRocca fails to state a claim for retaliation.

       To establish a prima facie case of retaliation that survives a motion to dismiss,

LaRocca must plead (1) she engaged in a protected activity; (2) she suffered an adverse

employment action; and (3) that there was a causal link between the protected activity and

the adverse employment action. Fisher v. Lufkin Indus., Inc., 847 F.3d 752, 757 (5th Cir.

2017) (citing to Zamora v. City of Houston, 798 F.3d 326, 331 (5th Cir. 2015)). LaRocca

fails to plead facts that show a causal link between her alleged protected activities and any

adverse employment actions. See generally, Dkt. No. 10.

       LaRocca asserts that she engaged in protected activity when she complained about

the District’s alleged non-compliance with special education laws and her lack of training

as a special education case manager. See id. at ¶¶ 74-75. “Protected activities consist of (1)

opposing a discriminatory practice; (2) making or filing a charge; (3) filing a complaint; or

(4) testifying, assisting, or participating in any manner in an investigation, proceeding, or

hearing.” Rodriquez v. Wal-Mart, 540 F. App’x 322, 328 (5th Cir. 2013). Complaining to

staff and administrators about perceived non-compliance with federal laws and not

receiving enough training does not equate to a protected activity under Title VII. See id.

Therefore, LaRocca’s theories of retaliation based on these alleged protected activities fail

to state a claim.



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       LaRocca also pleads that she engaged in protected activity “when she complained

about discrimination and harassment based on national origin to AISD administrators.” See

Dkt. No. 10 at ¶ 73. In response, LaRocca pleads the District changed her job assignment

and duties and imposed terms and conditions that were not imposed on other employees.

See Dkt. No. 10 at ¶ 76. Assuming that LaRocca alleges a valid adverse employment action

to support her remaining theory of retaliation, LaRocca must still plead that the alleged

adverse action was “but for” her protected activity. See Univ. of Tex. Sw. Med. Ctr. v.

Nassar, 570 U.S. 338, 360 (2013). In other words, LaRocca must plead sufficient facts that

the District would not have changed her job assignment and duties, or imposed different

terms and conditions, in the absence of her complaining of harassment based on her

national origin. See id. But LaRocca fails to do this.

       LaRocca pleads that she was assigned to a new position during the 2018-2019

school year. See Dkt. No. 10 at ¶¶ 12-13. However, LaRocca pleads that she remained a

Professional Communications teacher, but was simply given the added responsibility of

being a special education case manager. Id. at ¶¶ 9, 13. More importantly, LaRocca does

not plead any facts that would show a causal connection between her new assignment as a

special education case manager and her complaining about harassment based on her

national origin. See generally, id. Rather, in a solely conclusory manner, LaRocca asserts

a causal connection because Heil (an assistant principal), Jenning (an Agricultural Science

teacher), and Webb (an Agricultural Science teacher) made comments that she was Italian,

on three occasions over two school years. Id. at ¶¶ 9, 51-52. This amounts to bare



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accusations that are insufficient to state a plausible claim for relief. Twombly, 550 U.S. at

555; Iqbal, 556 U.S. at 678.

       At best, LaRocca pleads that, during the 2017-2018 school year, she had

conversations with Assistant Principal Heil, who informed LaRocca that she was disliked

by her colleagues out of jealousy. See Dkt. No. 10 at ¶¶ 10, 77. Even though LaRocca

pleads that Heil informed her that her colleagues were jealous because she was Italian,

LaRocca also pleads that she was informed that her colleagues were jealous because she

was from New York, had an accent, and was curvy. Id. at ¶ 10. As such, the Court cannot

infer that any perceived mistreatment was, or was not, based on LaRocca’s national origin.

If the Court were to accept LaRocca’s proffered inference, the Court would impermissibly

allow this case to proceed on the basis of a guess. Twombly, 550 U.S. at 555-59.

       Without alleging sufficient facts to plead the alleged adverse action was “but for”

her protected activity, LaRocca fails to state a prima facie case of retaliation and her claim

should be dismissed. See Fisher, 847 F.3d at 757.

D.     As LaRocca is no longer an employee of the District, she lacks standing to assert
       a claim for injunctive and declaratory relief.

       “[A] plaintiff who has merely alleged a past statutory violation and does not assert

any likelihood that she will be subjected to a similar violation in the future or purport to

represent a specific class of individuals that is in danger of discrimination from the

defendant lacks the standing to seek injunctive relief.” Shafer v. Army & Air Force

Exchange Serv., 376 F.3d 386, 398 (5th Cir. 2004) (discussing Armstrong v. Turner Indus.,

Inc., 141 F.3d 554, 563-64 (5th Cir. 1998)). LaRocca affirmatively pleads that she resigned


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her position at the District and, therefore, is no longer employed by the District and in

danger of further alleged discrimination. See Dkt. No. 10 at ¶ 37.2

         Further, LaRocca does not plead that she is seeking injunctive relief on behalf of a

specific class of individuals in danger of continued discrimination. See generally, Dkt. No.

10. Rather, LaRocca broadly requests this Court to enjoin the District from subjecting all

employees to discrimination based on national origin and retaliation for engaging in

protected activity. See id. at ¶ 81. This is insufficient. See Armstrong, 141 F.3d at 563. As

a result, her request for injunctive and declaratory relief against the District is moot and

should be dismissed for lack of standing. Shafer, 376 F.3d at 398.

                                                     PRAYER

          Based on the above, Alvin Independent School District respectfully requests the

Court grant its Motion to Dismiss, dismiss all of Lisa LaRocca’s claims against it, and

award the District its taxable costs of court.




2
 Insofar as LaRocca contends that she rescinded her resignation and, therefore, is still employed by the District, this
argument does not hold water. See Dkt. No. 10 at ¶¶ 37, 40. Pursuant to decisions by the Texas Commissioner of
Education, a resignation submitted not later than the 45th day before the first day of instruction of the following school
year is effective upon receipt by the school district and cannot be withdrawn based on an argument that the District
has not accepted the resignation. Fantroy v. Dallas Indep. Sch. Dist., Docket No. 034-R8-0206 (Tex. Comm’r Educ.
Mar. 5, 2009); Garcia v. Miles Indep. Sch. Dist., Docket No. 055-RI-503 (Tex. Comm’r Educ. Nov. 30, 2006).

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                                Respectfully submitted,

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                                ATTORNEYS FOR ALVIN ISD




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                          CERTIFICATE OF COMPLIANCE

        Pursuant to Galveston District Court Local Rule 6, I certify that, on May 28, 2020,
counsel for the District spoke with counsel for Ms. LaRocca via telephone regarding the
District’s intention to file a Rule 12(b) motion to dismiss, as well as the basis for such
filing. On May 28, 2020, counsel for the District informed counsel for Ms. LaRocca, in a
written letter, via email and regular mail, of Ms. LaRocca’s right to amend her pleadings
fourteen (14) days from the date of the letter, in accordance with Local Rule 6. On June
11, 2020, the Parties filed a letter of agreement with the Court extending Ms. LaRocca’s
time to amend her pleadings until June 19, 2020. Ms. LaRocca filed her amended complaint
on June 18, 2020.

                          CERTIFICATE OF CONFERENCE

       I certify that, on June 18, 2020, counsel for the District emailed counsel for Ms.
LaRocca to inform her that the District believes the same deficiencies in the complaint
exist and that it intends to proceed forward with filing a motion to dismiss. Ms. LaRocca’s
counsel advised she is opposed to the motion to dismiss.

                             CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2020, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following:

                                       Susan Soto
                                  Susan Soto Law, PLLC
                                 soto@sotoschoollaw.com



                                                  ___________________________
                                                  Attorney for AISD




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